Case 1:21-cv-01594-GBW Document 337 Filed 12/19/23 Page 1 of 10 PageID #: 17286




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE




  JAZZ PHARMACEUTICALS, INC.,

              Plaintiff,
                                          C.A. No. 21-691-GBW
                       v.
                                          PUBLIC VERSION
  AVADEL CNS PHARMACEUTICALS, LLC,

              Defendant.


  JAZZ PHARMACEUTICALS, INC., et al.,

              Plaintiffs,
                                          C.A. No. 21-1138-GBW
                       v.

  AVADEL CNS PHARMACEUTICALS, LLC,

              Defendant.


  JAZZ PHARMACEUTICALS, INC., et al.,

              Plaintiffs,
                                          C.A. No. 21-1594-GBW
                       v.

  AVADEL CNS PHARMACEUTICALS, LLC,

              Defendant.



                OPENING BRIEF IN SUPPORT OF PLAINTIFFS’
             MOTION FOR PARTIAL SUMMARY JUDGMENT NO. 4
             OF NO ANTICIPATION OF U.S. PATENT NO. 11,077,079
Case 1:21-cv-01594-GBW Document 337 Filed 12/19/23 Page 2 of 10 PageID #: 17287




                                            TABLE OF CONTENTS

                                                                                                                        Page

 I.     NATURE AND STAGE OF THE PROCEEDINGS...................................................... 1
 II.    SUMMARY OF ARGUMENT..................................................................................... 1
 III.   AVADEL CANNOT PROVE THAT LIANG ANTICIPATES THE ASSERTED
        CLAIMS OF THE ’079 PATENT................................................................................. 1
        A.        The ’079 Patent’s Asserted Claims All Share Common Claim Elements ............. 2
        B.        There Is No Genuine Dispute That Liang Does Not Disclose The Asserted
                  Claims’ Common Claim Elements ..................................................................... 2
 IV.    CONCLUSION............................................................................................................ 4




                                                            -i-
Case 1:21-cv-01594-GBW Document 337 Filed 12/19/23 Page 3 of 10 PageID #: 17288




                                               TABLE OF AUTHORITIES

                                                                                                                                  Page
                                                                Cases

 Health Advocate, Inc. v. Health Advocates, LLP,
    No. 03-4277, 2005 WL 8176688 (E.D. Pa. July 14, 2005) ................................................... 3

 HTC Corp. v. Cellular Commc'ns Equip., LLC,
   877 F.3d 1361 (Fed. Cir. 2017) ...................................................................................... 1, 2

 Net MoneyIN, Inc. v. VeriSign, Inc.,
    545 F.3d 1359 (Fed. Cir. 2008) .......................................................................................... 4

 New Hampshire v. Maine,
    532 U.S. 742 (2001)....................................................................................................... 3, 4

 Yeda Res. & Dev. Co. Ltd. v. Imclone Sys. Inc.,
    443 F. Supp. 2d 570 (S.D.N.Y. 2006) ................................................................................. 3
                                                         Rules / Statutes

 35 U.S.C. § 102 ....................................................................................................................... 1

 35 U.S.C. § 102(a)................................................................................................................... 1
                                                       Other Authorities

 U.S. Patent No. 11,077,079 .............................................................................................. 1, 2, 4




                                                                  - ii -
Case 1:21-cv-01594-GBW Document 337 Filed 12/19/23 Page 4 of 10 PageID #: 17289




 I.     NATURE AND STAGE OF THE PROCEEDINGS

        Jazz Pharmaceuticals, Inc. and Jazz Pharmaceuticals Ireland Ltd. (“Plaintiffs” or “Jazz”)

 allege that Avadel CNS Pharmaceuticals, LLC (“Defendant” or “Avadel”) infringes six patents,

 including U.S. Patent No. 11,077,079 (“’079 Patent”). C.A. No. 21-1138, D.I. 216 at ¶¶ 10, 25-

 37. Avadel asserts an affirmative defense and counterclaim of invalidity under 35 U.S.C. § 102

 against the ’079 Patent. C.A. No. 21-1138, D.I. 227 at 13 (Second Affirmative Defense), 17-18

 (Counterclaim Count II). Fact and expert discovery are closed and the parties are proceeding to

 a five-day jury trial beginning on February 26, 2024. Jazz moves herein for partial summary

 judgment against one of Avadel’s twenty-five-plus invalidity defense theories: that U.S. Patent

 Application Publication US 2006/0210630A1 (“Liang” or “Liang 2006”) allegedly anticipates

 the asserted claims of the ’079 Patent under 35 U.S.C. § 102.

 II.    SUMMARY OF ARGUMENT

        The Court should grant Jazz summary judgment because both parties’ experts agree, as

 did Avadel in submissions to the United States Patent and Trademark Office (“PTO”) before it

 was sued by Jazz, that Liang does not disclose several required elements of the ’079 Patent’s

 asserted claims. Because there is no genuine dispute that Liang does not disclose all elements of

 the asserted claims of the ’079 Patent, Liang cannot anticipate the asserted claims . Jazz is

 therefore entitled to summary judgment on that portion of Avadel’s defense and counterclaim.

 III.   AVADEL CANNOT PROVE THAT LIANG ANTICIPATES
        THE ASSERTED CLAIMS OF THE ’079 PATENT

        To prove anticipation based on Liang, Avadel must prove by clear and convincing

 evidence that Liang discloses, either expressly or inherently, each and every limitation of the

 ’079 Patent’s asserted claims. See 35 U.S.C. § 102(a); HTC Corp. v. Cellular Commc'ns Equip.,




                                               -1-
Case 1:21-cv-01594-GBW Document 337 Filed 12/19/23 Page 5 of 10 PageID #: 17290




 LLC, 877 F.3d 1361, 1368 (Fed. Cir. 2017). If any claim limitation is not disclosed in Liang,

 then Liang cannot anticipate as a matter of law. Id.

           A.     The ’079 Patent’s Asserted Claims All Share Common Claim Elements

           All asserted claims of the ’079 Patent require, among other elements, “opening a sachet

 containing a solid oxybate formulation,” “mixing the formulation with water,” and “orally

 administering the mixture to the patient.” SOF 3.

           B.     There Is No Genuine Dispute That
                  Liang Does Not Disclose The Asserted Claims’ Common Claim Elements

           Before Jazz brought suit against Avadel, Avadel made arguments to the PTO that directly

 contradict the arguments that Avadel makes in this case. Avadel contends in this case that Liang

 anticipates the asserted claims of the ’079 Patent. For Avadel’s contention to be correct, Avadel

 must argue that Liang discloses “opening a sachet containing a solid oxybate formulation,”

 “mixing the formulation with water,” and “orally administering the mixture to the patient.” But

 Avadel already took the exact opposite position at the PTO during the prosecution of its own

 patent.

           During prosecution of its own patent, and before it was sued by Jazz, Avadel argued to

 the PTO that “Liang do[es] not expressly disclose opening a sachet containing a gamma

 hydroxybutyrate formulation, mixing the formulation with water and orally administering the

 mixture.” SOF 4-7. These arguments are equally applicable to each of the ’079 Patent asserted

 claims. SOF 3, 6. And Avadel’s own expert, Dr. Charman, agrees with the position Avadel

 previously took in front of the PTO. Dr. Charman agrees that Liang does not disclose the above-

 recited claim elements. SOF 9.

           The Supreme Court has stated that “where a party assumes a certain position in a legal

 proceeding, and succeeds in maintaining that position, he may not thereafter, simply because his



                                                 -2-
Case 1:21-cv-01594-GBW Document 337 Filed 12/19/23 Page 6 of 10 PageID #: 17291




 interests have changed, assume a contrary position . . . .” New Hampshire v. Maine, 532 U.S.

 742, 749 (2001). District courts, therefore, routinely estop litigants from making arguments

 before the court that are clearly inconsistent with previous arguments made before the PTO. See,

 e.g., Yeda Res. & Dev. Co. Ltd. v. Imclone Sys. Inc., 443 F. Supp. 2d 570, 623 (S.D.N.Y. 2006)

 (“During the course of their patent prosecution, defendants specifically represented to the PTO

 that Figure 1(B) of the 1988 paper . . . discloses element (iii) of Claim 1 . . . . They now take the

 position that Figure 1(B) does not disclose Element (iii) . . . . However, because the PTO

 adopted their argument that Figure 1(B) supports Element (iii), we conclude that defendants are

 judicially estopped from now arguing that the Weizmann scientists did not disclose Element (iii)

 in the 1988 paper.”); Health Advocate, Inc. v. Health Advocates, LLP, No. 03-4277, 2005 WL

 8176688, at *5 (E.D. Pa. July 14, 2005) (noting that “this Court will exercise its discretion to

 apply the equitable doctrine of judicial estoppel and bar Plaintiff from asserting that the ‘Health

 Advocates’ [trade]mark is generic” where plaintiffs had taken the opposite position before PTO).

        Perhaps because Avadel is aware of this legal precedent, Avadel’s expert, Dr. Charman,

 focuses his validity opinions on an alleged lack of written description, and n ot on alleged

 anticipation based on Liang. In fact, as noted above, Dr. Charman agrees with the arguments

 Avadel made in front of the PTO regarding the lack of an express disclosure in Liang of

 “opening a sachet containing a gamma hydroxybutyrate formulation, mixing the formulation

 with water and orally administering the mixture.” SOF 9. So does Jazz’s expert, Dr. Davies.

 SOF 11-12. And Dr. Charman confirmed that he is not offering any inherent anticipation

 opinions. SOF 10. Therefore, Dr. Charman and Dr. Davies agree that Liang does not disclose,

 expressly or inherently, the ’079 Patents’ common claim elements of “opening a sachet

 containing a solid oxybate formulation,” “mixing the formulation with water,” and “orally




                                                 -3-
Case 1:21-cv-01594-GBW Document 337 Filed 12/19/23 Page 7 of 10 PageID #: 17292




 administering the mixture to the patient.” SOF 9-12. That should be the end of the anticipation

 inquiry.

        But Avadel and its expert Dr. Charman want to argue that, if Dr. Charman is incorrect in

 his alleged lack of written description opinions, then Dr. Charman can change his opinions

 regarding the disclosures in Liang. Specifically, Dr. Charman wants to change his opinions in

 order to opine on anticipation as well, stating that “my opinion is that if it is deemed that the

 ’079 patent has an adequate written description, then the comparable disclosures in Liang 2006

 likewise discloses [the above-recited claim limitations].” SOF 9, n.1. But “[a]s [the Federal

 Circuit] ha[s] stated numerous times . . . in order to demonstrate anticipation, the proponent must

 show that the four corners of a single, prior art document describe every element of the claimed

 invention.” Net MoneyIN, Inc. v. VeriSign, Inc., 545 F.3d 1359, 1369 (Fed. Cir. 2008) (internal

 quotations and citation omitted) (emphasis added). As noted above, it is Dr. Charman’s opinion

 that the common claim elements of the ’079 Patent are not disclosed in the four corners of Liang.

 And Avadel cannot “assume a contrary position” “simply because [its] interests have changed”

 once unsuccessful on written description. New Hampshire, 532 U.S. at 749.

        In sum, both parties’ experts agree, as did Avadel during the prosecution of its own

 patent, that Liang does not disclose the ’079 Patent’s common claim elements of “opening a

 sachet containing a solid oxybate formulation,” “mixing the formulation with water,” and “orally

 administering the mixture to the patient.” Consequently, as a matter of law, Liang cannot

 anticipate the ’079 Patent’s asserted claims.

 IV.    CONCLUSION

        For the foregoing reasons, the Court should grant Jazz partial summary judgment on

 Avadel’s Second Affirmative Defense and Counterclaim Count II.




                                                 -4-
Case 1:21-cv-01594-GBW Document 337 Filed 12/19/23 Page 8 of 10 PageID #: 17293




 Dated: November 30, 2023               Respectfully submitted,

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                                      -5-
Case 1:21-cv-01594-GBW Document 337 Filed 12/19/23 Page 9 of 10 PageID #: 17294




                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 30, 2023, I caused the foregoing to be electronically

 filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

 registered participants.

        I further certify that I caused copies of the foregoing document to be served on

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                                       2
